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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA

 Students for Life at Ball State University,
 Julia Weis, Renee Harding, and Nora Hopf,

 Plaintiffs,
                v.

 Rick Hall, E. Renae Conley, Thomas C.
 Bracken, Matt Momper, R. Wayne
 Estopinal, Brian Gallagher, Jean Ann
 Harcourt, Mike McDaniel, and Marlene
 Jacocks, each individually and each in his
 or her official capacity as members of the    MOTION FOR ADMISSION
 Board of Trustees of Ball State University;   PRO HAC VICE ON BEHALF OF
 Geoffrey S. Mearns, President of Ball State   ATTORNEY DAVID CORTMAN
 University, in his official and individual
 capacities; Kay Bales, Vice President for     Case No. 1:18-cv-1799-SEB
 Student Affairs and Enrollment Services
 and Dean of Students, in her individual and
 official capacities; Jaquelyn Buckrop,
 Melissa Ginotti, Rob Marvin, Brittanie
 Middleton, and Ro-Anne Royer Engle,
 each individually and each in his or her
 official capacity as members of the Student
 Activity Fee Committee at Ball State
 University;


 Defendants.



                        MOTION TO APPEAR PRO HAC VICE
                 FILED ON BEHALF OF ATTORNEY DAVID CORTMAN

        Eric Bohnet of the law firm Bohnet Law, pursuant to S.D. Ind. Local Rule 83-6(a), hereby

moves this court for an Order granting David Cortman of Alliance Defending Freedom, leave to

appear pro hac vice for the purpose of appearing as counsel on behalf of all Plaintiffs in the above-

styled case only. In support of this motion, the undersigned states:




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       1.      The Certification of David Cortman, as required by S.D. Ind. Local Rule 83-6(b),

is attached hereto as Exhibit A.

       2.      Electronic payment in the amount of One Hundred Dollars ($100.00) has been

submitted via pay.gov contemporaneously with the filing of this motion.

       WHEREFORE, the undersigned counsel respectfully requests that this Court enter an

Order granting David Cortman leave to appear pro hac vice for purposes of this case only.



Dated: June 13, 2018



                                                   Respectfully submitted,

                                                   /s/ Eric C. Bohnet
                                                   Eric C. Bohnet
                                                   IN Bar # 24761-84
                                                   6617 Southern Cross Dr.
                                                   Indianapolis, IN 46237
                                                   Telephone: (317) 750-8503
                                                   Email: ebohnet@gmail.com



                                                   Counsel for Plaintiffs




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 13, 2018, I electronically filed the foregoing document using

the CM/ECF system, and it will be served upon all Defendants with the Complaint and Summons

pursuant to Fed. R. Civ. P. 4.

       Dated this 13th day of June, 2018, by:


                                                /s/ Eric C. Bohnet
                                                Eric C. Bohnet
                                                IN Bar # 24761-84
                                                6617 Southern Cross Dr.
                                                Indianapolis, IN 46237
                                                Telephone: (317) 750-8503
                                                Email: ebohnet@gmail.com




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